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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALFRED ESTRADA                        :
                                      :     CIVIL ACTION NO.:
                 VS.                  :
                                      :     15-CV-06714
CROZER KEYSTONE HEALTH SYSTEMS,       :
INC., ET AL.                          :


                                   ORDER

     AND NOW, TO WIT:      On this 4TH day of October, 2016, it having
been reported that the issues between the parties in the above-action
have been settled and upon Order of the Court pursuant to the
provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of
this Court, it is

     ORDERED that the above action is DISMISSED            with     prejudice,
pursuant to agreement of counsel without costs.

     The Court will retain jurisdiction for 90 days to hear motions to
vacate, modify, or strike from record, for cause shown, entry of the
order of dismissal. Local Rule of Civil Procedure 41.1(b); see Sawka
v. Healtheast, Inc. 989 F.2d 138 (3d Cir. 1993).


      IT IS SO ORDERED.

                                           BY THE COURT:



                                           /s/ Eduardo C. Robreno
                                           EDUARDO C. ROBRENO,        J.




CC:   All Counsel
